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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, SOUTHERN DIVISION


UNITED STATES OF AMERICA            )
                                    )
    v.                              )     CRIMINAL ACTION NO.
                                    )       1:11cr7-MHT
MONTY ERVIN                         )             (WO)


                                ORDER

    Upon    consideration      of       the   recommendation   of      the

United States Magistrate Judge (Doc. no. 117) and the

objections filed by defendant Monty Ervin (Doc. no. 130);

and after an independent and de novo review of the

record, including the transcript of the hearing before

the magistrate judge, it is the ORDER, JUDGMENT, and

DECREE of the court:

         (1) That defendant Monty Ervin’s objections (Doc.

             no. 130) are overruled;

         (2) That the recommendation of the United States

             Magistrate Judge (Doc. no. 117) is adopted;

             and
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   (3) That defendant Ervin’s motion to suppress (Doc.

         no. 89) is denied.

DONE, this the 8th day of September, 2011.



                                /s/ Myron H. Thompson
                             UNITED STATES DISTRICT JUDGE
